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 6
                              UNITED STATES DISTRICT COURT
 7
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE

 9   JAN RAMIREZ and ERIKA RAMIREZ,
     husband and wife,                                  No.
10
                                    Plaintiffs,         COMPLAINT FOR DAMAGES
11

12          v.

13   THE UNITED STATES OF AMERICA,
14                                  Defendant.
15

16

17          Plaintiffs Jan Ramirez and Erika Ramirez, husband and wife, bring this complaint
18   under the Federal Tort Claims Act, 28 U.S.C. §2674. Plaintiffs allege as follows:
19
                                           I.     PARTIES
20
            1.1     This is a case arising out of bodily injuries caused by a United States Marshall
21
     Service vehicle when it struck Plaintiff Jan Ramirez while he was riding his bicycle in
22

23   Seattle, Washington.

24          1.2     At all relevant times, Plaintiffs Jan Ramirez and Erika Ramirez were husband

25   and wife and were residents of Bainbridge Island, Washington.
26
            1.3     The Defendant is the United States of America.


     COMPLAINT FOR PERSONAL
     INJURY - 1                                           SCHROETER GOLDMARK & BENDER
                                                           500 Central Building ● 810 Third Avenue ● Seattle, WA 98104
                                                                   Phone (206) 622-8000 ● Fax (206) 682-2305
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 1           1.4         At all times material hereto, Jeffrey Hamilton was an employee of and acting

 2   in the course and scope of his employment within the United States Marshall Service, an
 3
     agency of the Defendant United States of America.
 4
                               II.   JURISDICTION, VENUE & SERVICE
 5
             2.1         This Court has jurisdiction over parties pursuant to 28 U.S.C. §1346(b),
 6
     commonly known as the Federal Tort Claims Act (“FTCA”).
 7

 8           2.2         Venue is proper in the United States District Court for the Western District of

 9   Washington under 28 U.S.C. §1402(b) as the United States of America is a Defendant and
10   Plaintiffs reside in this district and have their domicile in this district. Further, venue is
11
     proper in this district pursuant to 28 U.S.C. §1391(e) and §1402(b) as the United States is a
12
     Defendant and a substantial part of the events or omissions giving rise to the claim occurred
13
     in this district.
14

15           2.3         The United States of America may be served with process in accordance with

16   Rule 4(i) of the Federal Rules of Civil Procedure by serving a copy of the Summons and of

17   the Complaint on the United States Attorney Tessa M. Gorman, United States Attorney for
18   the Western District of Washington, by certified mail, return receipt requested at his/her
19
     office, United States Attorney, 700 Stewart Street, Suite 5220, Seattle, Washington, 98101-
20
     1271, to the attention of the Civil Process Clerk, and by serving a copy of the Summons and
21
     Complaint on Merrick Garland, Attorney General for the United States, by certified mail,
22

23   return receipt requested, at the U.S. Department of Justice, 950 Pennsylvania Avenue NW,

24   Washington, D.C. 20530-0001, to the attention of the Civil Process Clerk.

25   \\
26
     \\


     COMPLAINT FOR PERSONAL
     INJURY - 2                                                SCHROETER GOLDMARK & BENDER
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 1                        III.   LIABILITY OF THE UNITED STATES

 2          3.1     This case is commenced and prosecuted against the United States of America
 3
     to and in compliance with 28 U.S.C. §§2671-2680, the FTCA. Liability of the United States
 4
     is predicated specifically on 28 U.S.C. §2674 because the personal injuries and resulting
 5
     damages of which the complaint is made were proximately caused by the negligence,
 6
     wrongful acts and/or omissions of employees and/or agents of the United States of America
 7

 8   working for the United States Marshall Service, while acting within the scope of their office,

 9   employment, and/or agency.
10          3.2     The United States Marshall Service is an agency of the United States of
11
     America. The United States of America, through its agency, the United States Marshall
12
     Service, at all material times staffed the United States Marshall Service, its facilities and
13
     vehicles with its agents, servants and employees.
14

15          3.3     At all material times, all persons involved in supervising and operating the

16   United States Marshall Service vehicle in question were agents, servants or employees of the

17   United States of America or its agency, and were at all material times acting within the
18   course and scope of employment.
19
            3.4     On information and belief, at the time of the collision that is the subject of this
20
     lawsuit, United States Marshall Service employee Jeffrey Hamilton was acting within the
21
     course and scope of his employment, and acting as an agent and employee of the United
22

23   States of America.

24                        IV.    JURISDICTIONAL PRE-REQUISITES

25          4.1     Pursuant to 28 U.S.C. §2672 and §2675(a), the Plaintiffs filed and presented
26
     the claims set forth here administratively to the United States Marshall Service on November


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 1   6, 2020. More than six (6) months have passed since these claims have been presented, and

 2   the United States Marshall Service has not issued a final disposition of the claim.
 3
     Accordingly, under 28 U.S.C. §2675(a), a failure of the Defendant to make a final disposition
 4
     constitutes a denial of the Plaintiffs’ claims. Plaintiffs have complied with all jurisdictional
 5
     prerequisites and conditions present to the commencement and prosecution of this suit.
 6
                                            V.    FACTS
 7

 8          5.1     On March 13, 2019, at 6:53 a.m., Plaintiff Jan Ramirez was bicycling to work

 9   in a designated bicycle lane traveling northbound on Virginia Street, in Seattle, Washington.
10          5.2     Meanwhile, United States Marshall Service (“USMS”) employee Jeffrey
11
     Hamilton, driving a 2010 Dodge Caravan, traveled northbound in the right lane on Virginia
12
     Street in Seattle, Washington.
13
            5.3     At approximately the 700 block of Virginia Street, USMS Hamilton made a
14

15   right turn into the driveway of the U.S. Federal District Courthouse parking garage, crossing

16   the designated bicycle lane.

17          5.4     USMS Hamilton failed to keep a proper lookout and failed to yield the right-
18   of-way when he turned and struck Plaintiff Jan Ramirez, ejecting him from his bicycle and
19
     causing him to smash into the sidewalk.
20
            5.5     Plaintiff Jan Ramirez incurred serious and permanent injuries, including but
21
     not limited to a left shoulder comminuted acromion fracture, soft-tissue injuries throughout
22

23   his body, and other injuries.

24                                   VI.   CAUSES OF ACTION

25          6.1     Plaintiffs re-allege paragraphs 1.1 through 5.5 as though fully set forth herein.
26


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 1             6.2   This is a Federal Tort Claims Action for monetary damages sustained by

 2   Plaintiffs arising out of the personal injuries to Plaintiffs Jan Ramirez and Erika Ramirez as a
 3
     result of the negligent operation of a United States Marshal Service vehicle in Seattle,
 4
     Washington.
 5
               6.3   The United States Marshall Service employee’s failure to exercise reasonable
 6
     and ordinary care in operating a United States Marshall Service vehicle on March 13, 2019,
 7

 8   caused a collision between the United States Marshall Service vehicle and Plaintiff Jan

 9   Ramirez that directly and proximately caused injury to Plaintiffs Jan Ramirez and Erika
10   Ramirez.
11
               6.4   Defendant’s employee USMS Hamilton was negligent when he failed to yield
12
     the right-of-way to Plaintiff Jan Ramirez and failed to keep a proper lookout prior to turning
13
     the USMS vehicle into the driveway of the U.S. Federal District Courthouse parking garage
14

15   causing a collision with Plaintiff Jan Ramirez.

16             6.5   As a proximate result of the Defendant’s negligent acts and/or omissions,

17   Plaintiffs Jan Ramirez and Erika Ramirez suffered damages.
18                                        VII.    DAMAGES
19
               7.1   Plaintiffs re-allege paragraphs 1.1 through 6.5. As though fully set forth
20
     herein.
21
               7.2   As a result of the negligent acts and/or omissions by Defendant described
22

23   above, Plaintiffs Jan Ramirez and Erika Ramirez suffered injuries and damages, including

24   but not limited to:

25                         A. Past and future physical pain and suffering;
                           B. Past and future physical impairment and disability;
26
                           C. Past and future emotional suffering, humiliation and distress;


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 1                       D. Loss of enjoyment of life;
                         E. Loss of consortium;
 2                       F. Past and future loss of income and impairment of earning capacity;
                            and,
 3
                         G. Past and future medical expenses.
 4
               7.3    The aforementioned damages are in an amount which will be proved at the
 5
     time of trial.
 6
                                VIII.   PRAYER FOR RELIEF
 7

 8             WHEREFORE, Plaintiffs pray for judgement on each cause of action against the

 9   Defendant, in an amount to be proved at trial, together with Plaintiffs’ costs and
10   disbursements herein incurred, and for such other further relief as the Court deems just and
11
     proper.
12
               DATED this 13th day of May, 2021.
13
                                          SCHROETER GOLDMARK & BENDER
14

15                                        s/Sergio A. Garcidueñas-Sease
                                          s/James D. Hailey
16                                        SERGIO A. GARCIDUEÑAS-SEASE, WSBA #46958
                                          JAMES D. HAILEY, WSBA #7639
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     COMPLAINT FOR PERSONAL
     INJURY - 6                                          SCHROETER GOLDMARK & BENDER
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